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                      Exhibit B
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


STEVEN E. GREER, MD                           )
                                              )
                                              )           CIVIL ACTION NO.
                                              )
               Plaintiff;                     )         15-CV-6119 (AJN)(JLC)
                                              )
       v.                                     )
                                              )
                                              )      PLAINTIFF’S FIRST RESPONSES
Dennis Mehiel, an individual Robert Serpico, )
                                                    and OBJECTIONS to DEFENDANTS’
an individual, The Battery Park City          )    SECONF REQUEST for DOCUMENTS
Authority, a New York State authority,        )
Howard Milstein, an individual, Steven Rossi, )
an individual, Janet Martin, an individual,   )
                                              )
Milford Management, a New York                )
corporation, and Mariners Cove Site B         )
Associates, a New York corporation.           )
                                              )
               Defendants.
                                              )
                                              )
                                               )




                                                      Steven Greer, pro se
                                                      4674 Tatersall Court
                                                      Columbus, Ohio 43230
                                                      (212) 945-7252
                                                      steve@batterypark.tv




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              PLAINTIFF’S RESPONSES AND OBJECTIONS TO
              DEFENDANTS’ FIRST REQUEST for DOCUMENTS


TO: Defendants Robert Serpico and The Battery Park City Authority, by and through their

attorney of record, Michael Tremonte of Sher Tremonte LLP, located at 80 Broad Street, 13th

Floor, New York, NY 10004.

       Plaintiff Steven Greer (“Plaintiff”) serves this first set of Objections and Responses to

Defendants’ Second Set of Requests for Production under Federal Rule of Civil Procedure 34.




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Your second set of requests are literally laughable. You are asking for documents already hashed
out in numerous conference calls and meetings with the judge whereby he denied them all (e.g.
The HCC data, financial records, etc).

This is my official response to this document request: I refuse to provide any of them. Take it up
with the judge.

Moreover, cease and desist any more harassing behavior or I will report you to the Appellate
Division disciplinary committee for tampering with witnesses.




Dated: New York, New York
April 15, 2017
                                             Sincerely

                                             _____________________________
                                             STEVEN GREER
                                             4674 Tatersall Court
                                             Columbus, Ohio 43230
                                             (212) 945-7252
                                             Steve@batterypark.tv


To: The BPCA defendants’ lawyers of Sher Tremonte LLP and the real estate lawyers of
Rosenberg & Estis P.C.




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